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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
________________________________________
CHARLES JOSEPH FREITAG, JR., as          :
ADMINISTRATOR of the ESTATE OF           :
CHARLES JOSEPH FREITAG, SR.,             :
                                         :
                        Plaintiff,       :
                                         :
               v.                        : No. 2:19-cv-05750-JMG
                                         :
BUCKS COUNTY et al.                      :
                                         :
                        Defendants.      :
________________________________________ :



               Plaintiff’s Consolidated Opposition to Defendants’
                         Motions for Summary Judgment




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I.     Introduction

       The defendants in this matter—mental health providers and correctional officers working

at the Bucks County Correctional Facility (“BCCF”)—were fully aware of their responsibility to

protect mentally ill prisoners particularly vulnerable to the risk of self-harm. When Charles

Joseph Freitag Sr. was admitted to BCCF in June 2018, there was little question of such risk. His

incarceration was directly tied to a suicide attempt, his second in the space of two weeks: he used

a blade to place several cuts in his arms and then drove his truck through the exterior wall of his

ex-wife’s home resulting in his arrest on aggravated assault charges.

       During the nearly three months Mr. Freitag spent at BCCF awaiting his sentencing

following his conviction on those charges, it was abundantly clear he was at risk for yet another

attempt. Mr. Freitag told the defendant mental health providers that he was suffering from

anxiety and stress over the outcome of his sentencing. He was desperately holding out hope he

would be released on a non-custodial sentence that would allow him to return to his job with the

U.S. Postal Service where he had worked for 25 years. The mental health providers were aware

of this growing anxiety and made repeated observations that Mr. Freitag was lacking insight and

judgment. Despite this recognition and knowledge that a result at sentencing outside Mr.

Freitag’s expectations was certain to enhance the risk he would harm himself, the defendants

failed to ensure that adequate protective measures would be in place following his return from

court—a failure that was aided and enhanced by the policy decision of their employer,

PrimeCare Medical, not to make mental health staff available at BCCF in the late afternoon and

evenings when prisoners returned to BCCF from their court proceedings.

       On August 24, 2018, Mr. Freitag had his sentencing in the Bucks County Court of

Common Pleas. The trial judge ordered his imprisonment for a period of six-to-twelve years.

That sentence was wildly outside Mr. Freitag’s expectations. Mr. Freitag was returned to BCCF
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where he knew he would soon be transferred to the Pennsylvania Department of Corrections.

With no mental health staff available, decisions on how to proceed were left to correctional staff

without clinical training on suicide risks and without full knowledge of Mr. Freitag’s history of

suicide attempts, psychiatric hospitalizations, and mental health diagnoses.

       The correctional staff ordered that Mr. Freitag be placed on the lowest available level of

protective watch, one that required observation by a correctional officer every 30 minutes and by

an inmate monitor (that is, another incarcerated person assigned to assist with protective watch

practices under correctional officers’ supervision) every 15 minutes. But, on the morning of

August 25, 2018, that order was ignored. The inmate monitor working under officers’

supervision and assigned to observe Mr. Freitag did so only twice over the course of five hours.

The same officers responsible for ensuring that inmate monitor’s performance failed to do their

own observations. These dual failures—the officers’ failure to perform their checks and the

failure to ensure the inmate monitor’s checks—were the natural result of a custom and practice

known to Bucks County for years where officers did not perform protective watches.

       Shortly before 11:00 am on August 25, a prisoner happened to walk by Mr. Freitag’s cell

and look in the window. The prisoner yelled to correctional officers that Mr. Freitag was

kneeling beside his bed covered in blood. After an emergency alert was issued, correctional

officers and medical staff arrived at the cell and found a gruesome scene: Mr. Freitag,

surrounded by pools of blood, with large amounts of blood on the cell walls, and arteries and

tendons strewn about the cell. As later became clear, Mr. Freitag had broken a hard plastic cup

and used a pointed shard of plastic to dig quarter-sized holes in both of his arms. Mr. Freitag

could not be revived and was pronounced dead. He was 57 years old.

       From the moment of Mr. Freitag’s death, it appeared that his suicide was entirely

preventable. Plaintiff Charles Joseph Freitag Jr., the son of Charles Freitag Sr. and Administrator

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of his Estate, brought this civil rights survival and wrongful death action to seek accountability

for his father’s death. After the Court denied two motions to dismiss, ECF 45 & 46, the parties

conducted extensive discovery, which has demonstrated that Mr. Freitag’s death was caused by

the collective actions and inactions of two sets of defendants. First, the defendant mental health

clinicians, Christina Penge and Jessica Mahoney, were deliberately indifferent to Mr. Freitag’s

risk of self-harm by failing to ensure necessary and available protective measures following his

sentencing, and their employer, PrimeCare, caused that failure by knowingly providing

insufficient mental health staffing. Second, the defendant correctional officers, James Young and

Robert Moody, were, likewise, deliberately indifferent to the risk of self-harm by failing to

implement a protective watch order, and their employer, Bucks County, caused that conduct by

acquiescing for years to a custom and practice of officers not complying with watch directives

while also failing to train and supervise officers regarding protective watches.1

       The defendants have filed two separate motions for summary judgment seeking judgment

in their favor as to all claims. As plaintiff demonstrates in this consolidated opposition to the

motions, however, defendants’ arguments misapply the relevant law and are based on factual

characterizations that violate the bedrock Rule 56 standard requiring that all facts and inferences

be drawn in plaintiff’s favor. The facts, viewed in the proper context, are more than sufficient at

this stage to support plaintiffs’ claims that (1) the individual defendants, Mahoney, Penge,

Young, and Moody, are liable under 42 U.S.C. § 1983 for their deliberate indifference to Mr.

Freitag’s particular vulnerability to self-harm in violation of the Eight Amendment; (2) the entity

defendants, PrimeCare and Bucks County, are liable under § 1983 for their actions and inactions,

with deliberate indifference, that led to the individual defendants’ unconstitutional conduct; and


1
 Plaintiff’s Amended Complaint also named Officer Tory Murphy as a defendant. Plaintiff
agrees to dismissal of all claims against Murphy.
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(3) defendants Mahoney, Penge, and PrimeCare are liable to plaintiff for negligence under

Pennsylvania law.2 Accordingly, the motions should be denied, and plaintiff should be permitted

to present these claims to a jury.

II.    Facts

       Plaintiff has submitted with this memorandum a Statement of Facts in Support of

Consolidated Opposition to Defendants’ Motions for Summary Judgment. The statement is cited

throughout this brief with references to “PS,” followed by the relevant paragraph number.3 A

summary of the facts relevant to the motions is as follows:

       A.      The Defendants and Their Duty to Protect Prisoners from Harming
               Themselves

       The individual defendants in this matter, mental health clinicians Christina Penge and

Jessica Mahoney and correctional officers James Young and Robert Moody, knew that suicide

and self-harm are ever-present risks in a prison population and that those risks may arise at any

time. PS 1-2, 4. The defendants likewise knew that as employees at BCCF they had a

responsibility to protect the safety of incarcerated people and to address risks that an incarcerated

person might engage in self-harm. PS 3, 5-7. In particular, the defendants knew these

responsibilities were of central importance when an incarcerated person experienced critical

events in criminal proceedings, including a denial of bail, a jury verdict, or sentencing. PS 8.

       B.      Charles Joseph Freitag Sr.’s Admission to BCCF and His Concerning Risk
               of Suicide and Self Harm

       Until 2017, Charles Joseph Freitag Sr. had a productive, arrest-free life and 25-year



2
 Plaintiff’s Amended Complaint included a claim against Bucks County under the Americans
with Disabilities Act, 42 U.S.C. § 12132. Plaintiff agrees to dismissal of that claim.
3
 As required by the Court’s policies and procedures, plaintiff has also filed responses to the
defendants’ respective statements of undisputed material facts.
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career with the U.S. Postal Service. Following the deaths of several close family members and

contentious divorce proceedings, his mental health deteriorated, and he attempted suicide twice.

PS 10. He was hospitalized and released, but, after he stopped taking medications, he attempted

suicide a third time, this time by placing several cuts in his arms and driving his truck through

the exterior wall of his ex-wife’s home in Fallsington, Pennsylvania. PS 11. He was arrested on

aggravated assault and related charges. Id. On June 4, 2018, he was convicted by a jury and his

bail was revoked, leading to his admission to BCCF. PS 9. From the moment of his admission,

PrimeCare staff were aware of his substantial suicide risk given his multiple previous attempts,

his inpatient psychiatric hospitalizations, and scars on his right forearm. PS 12-13.

       C.      Mr. Freitag’s Placement on Suicide Precaution Status

       When Mr. Freitag was admitted to BCCF, Bucks County and PrimeCare had in place a

suicide prevention policy that included four different watch levels aimed at preventing people

from harming themselves, identified, in decreasing order of protectiveness, as: Constant Watch,

Level 1, Level 2, and Level 3. PS 14. After his first medical encounter with a PrimeCare nurse

on June 4, Mr. Freitag was placed on Level 2 status, meaning that he was locked in a “stripped

cell” (that is, a cell with all property removed) under the constant observation of an inmate

monitor, with an officer checking him no less than every 15 minutes. PS 14, 16. The Level 2

status was the default level of protection used by mental health clinicians in the event of any

questions about a person’s stability, and the less protective Level 3 status was typically only used

as a step-down procedure after removal from a more intensive watch. PS 15.

       On June 5, the day after his admission to BCCF, Mr. Freitag had a mental health

evaluation with defendant Mahoney. She learned that Mr. Freitag had three prior suicide

attempts, with the most recent seeming “pretty severe,” and she reported that Mr. Freitag

continued to have thoughts of self-harm when he got depressed. PS 17-19. Mr. Freitag, who

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knew he would go back to court for sentencing, told Mahoney that he was anxious whenever he

thought about the case and the chance he would lose his job. PS 20. Given these factors,

Mahoney determined Mr. Freitag had a moderate risk of engaging in suicidal conduct. PS 22.

       D.      Mr. Freitag’s Request for Post-Sentencing Mental Health Follow-Up

       On June 15, in another encounter with Mahoney, Mr. Freitag repeated his concern about

going back to court for sentencing and requested that mental health staff follow up with him after

court. Given Mr. Freitag’s background and his anxiety specifically tied to sentencing, mental

health staff knew they needed to address those concerns. PS 24-25. Mahoney knew Mr. Freitag’s

sentencing was scheduled for Friday, August 24, 2018, but she arranged for a follow-up

appointment to occur three days later, on Monday, August 27. PS 26. She scheduled the

appointment with this delay because of PrimeCare’s staffing policies, under which no mental

health clinicians would be available either when Mr. Freitag returned from court or at any time

during the weekend following the sentencing. PS 27.

       E.      Mr. Freitag’s Mental Health Deteriorates Through July 2018

       In late July 2018, Mr. Freitag called his brother from BCCF and told him that he was “so

depressed” and that he “didn’t want to get out of bed anymore.” These statements concerned Mr.

Freitag’s brother who then contacted Mr. Freitag’s lawyer and asked him to seek assistance. PS

28. Mr. Freitag’s counsel did so on July 31, 2018, sending an email to BCCF Deputy Warden

Clifton Mitchell stating that Mr. Freitag was “not doing well incarcerated and has a history of

suicide attempts.” PS 29.

       After receiving that email, Mitchell spoke with Dr. Abbey Cassidy, PrimeCare’s mental

health supervisor for BCCF, and asked that someone evaluate Mr. Freitag and take into

consideration his age, the seriousness of his charges, and the fact that his sentencing hearing was

approaching. PS 30-31. In the mental health encounter that followed, a clinician reported that

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Mr. Freitag was “tearful and highly emotional” and stated that he was an “emotional wreck,”

“thinking about everything he’s done to himself and [his] family,” “in disbelief” that he was in

jail and was “beating himself up.” PS 32. Following the encounter, Mr. Freitag was placed on a

Level 3 watch, a status that, in addition to requiring regular observations, also required three

mental health encounters per week, something that Mr. Freitag felt he needed. PS 33-34.

       Dr. Cassidy reported back to Deputy Warden Mitchell that mental health staff would

keep Mr. Freitag on Level 3 watch. PS 35. Cassidy believed that Mr. Freitag should stay on

Level 3 watch at least through his sentencing. The next day, August 1, she emailed the entire

mental health staff, including defendants Penge and Mahoney, stating that Mr. Freitag would

“need to stay on a Level 3 for at least a few weeks” and noting that “Level 3 appears appropriate

for now, but we need to keep a close eye on him as his sentencing date (8/24/18) approaches

since he strikes several of the increased risk factors for suicide.” PS 36-37. In view of this

message. Dr. Cassidy expected that any clinician would speak with her before removing Mr.

Freitag from Level 3 status. PS 39.

       F. Mr. Freitag’s Increasing Anxiety and Diminishing Insight and Judgment as
          Sentencing Approached

       Mr. Freitag had multiple mental health encounters between August 1 and his August 24

court date, during most of which he continued to express serious anxiety about his sentencing.

On August 8, he saw Mahoney and told her his anxiety was increasing as his court date

approached and that he was worried about how sentencing would impact his life. PS 41. On

August 10, he saw Penge and expressed specific concern about how his sentencing would impact

his job. PS 42. Prior to the August 10 encounter, Penge had seen Mr. Freitag before, and, on each

occasion, noted that he had “limited insight and judgment.” She made that finding again on




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August 10 based on her determination that Mr. Freitag could not accept that factors outside his

control would determine whether he would be able to retain his job. PS 43-44.

       Penge repeated this finding regarding limited insight and judgment after another

encounter with Mr. Freitag on August 14. PS 45. Following a visit with a psychiatric nurse

practitioner in which Mr. Freitag was noted to have appeared anxious, Mr. Freitag saw Penge

again on August 17. PS 46-47. Despite noting, again, that Mr. Freitag showed limited insight and

judgment and despite his expressing anxiety about his sentencing, Penge elected to remove Mr.

Freitag from the Level 3 watch status. PS 47-48. She did so notwithstanding her knowledge of,

among other things, Mr. Freitag’s repeated expressions of anxiety about the sentencing

proceeding that was just one week away. PS 49. Further, she did so without consulting anyone,

including Dr. Cassidy, an action that was not consistent with Dr. Cassidy’s expectations for the

clinicians working under her supervision—and one that was of particular concern to Dr. Cassidy

given the finding that Mr. Freitag was reported to have lacked insight and judgment. PS 50-53.

       Following the August 17 termination of the Level 3 watch protocol, on August 22, Mr.

Freitag had a “step-down” appointment with defendant Mahoney. Mr. Freitag told Mahoney that

he was confident he would be released from prison. PS 54. On August 23, in his final mental

health encounter before his sentencing, Mr. Freitag, while noting his nervousness, repeated to

Penge what he had told Mahoney: that he believed he would be getting out of prison after his

sentencing. PS 55, 57. Penge, as she had done before, concluded Mr. Freitag lacked insight and

judgment because he appeared not to comprehend that he could be coming back to prison and he

“wasn’t really listening” to the suggestion that his expectations might not be met. PS 56-58.

While Penge claimed it never crossed her mind that Mr. Freitag could be devastated by a

sentence requiring more time in custody, Dr. Cassidy believed that Penge’s findings on August

23 required mental health intervention for Mr. Freitag when he returned from court. PS 59-60.

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       G.      PrimeCare’s Deliberate Failure to Make Mental Health Care Available
               Following an Incarcerated Person’s Return from Court

       When people incarcerated at BCCF were transported to court proceedings in the Bucks

County Court of Common Pleas, it was commonly known that they would not be returned to

BCCF until after 4:00 pm. PS 64. Despite the knowledge that suicidal behavior is often tied to

critical events in a person’s criminal case, PrimeCare’s staffing policy at BCCF did not allow for

mental health staff availability after 4:00 pm on weekdays and weekends. PS 61-63. This

practice, which had been in place since PrimeCare took over the contract for mental health care

at BCCF in March 2018, meant that mental health staff were not available for clinical

evaluations after court proceedings, and there was no procedure in place to ensure mental health

providers could see a person on the mental health caseload after court. PS 65-69. With no mental

health staff available for such evaluations, the established practice was to have members of the

Bucks County correctional staff—who did not have sufficient mental health training to fully

assess suicide risk—make decisions about suicide risk after a return from court. PS 70-73.

       H.      Mr. Freitag’s Sentencing and Placement on an Insufficiently Protective
               Watch

       Mr. Freitag’s sentencing was held on August 24. He received a sentence of six-to-twelve

years imprisonment, well beyond his expectations. PS 74. His friends and family members in

attendance knew he would be distraught and believed he might attempt to harm himself. PS 75.

       When Mr. Freitag returned to BCCF, an email reporting his sentence was sent to

administrative correctional staff, including Deputy Warden Mitchell, who had learned of Mr.

Freitag’s prior suicide attempts on July 31. PS 29, 76. That email was sent at 3:52 pm, right as

mental health staff were leaving BCCF. PS 77. Mitchell forwarded the email to, among others,

Correctional Case Manager Supervisor Carl Metellus, and stated “Unlock, my sure he’s on a

watch.” PS 78. Metellus interpreted this to require that he should “make sure” Mr. Freitag was

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on Level 3 watch because the statement “unlock” meant Mr. Freitag should be placed in an

unlocked cell, and the only watch status that allowed for an unlocked cell was Level 3. PS 79.

Metellus, following the directive of a superior officer, therefore informed the officers in Mr.

Freitag’s housing area to initiate a Level 3 watch. PS 79-80, 82. Mitchell did not fully understand

the watch procedures and believed it was up to Metellus to decide the specific watch level, and

that Metellus was, therefore, the person who ordered the Level 3 watch; in any event, Mitchell

was “handcuffed” in his decision-making because he did not have access to Mr. Freitag’s mental

health history or any understanding of how the sentencing impacted him. PS 81, 83-84.

       Mitchell had been left with the responsibility to initiate the watch decision because no

mental health practitioners were available in the facility under PrimeCare’s staffing practices. PS

85, 89. Accordingly, no mental health staff were aware of the decision to place Mr. Freitag on

Level 3; given Mr. Freitag’s history, however, and because of the result in his sentencing, mental

health staff would have wanted an opportunity to assess him. PS 86-90. Had Dr. Cassidy been

asked about how to handle Mr. Freitag’s risk of harm following his sentencing, she would have

either directed an evaluation with a clinician or requested placement on a Level 2 watch—in a

stripped cell under the constant observation of an inmate monitor. PS 91.

       I.      Rules for Correctional Staff Implementing the Level 3 Watch Status

       An order to officers to implement a Level 3 watch for a person on their housing unit is an

indication to officers that ensuring the person’s safety from harm requires six observations every

hour—an officer’s observation every 30 minutes and an inmate monitor’s observation every 15

minutes. PS 92. Orders to officers to implement a watch with this frequency of checks are

mandatory and not mere suggestions of guidelines, and an officer’s failure to follow them could

lead to someone engaging in self-harm. PS 93-96. The purpose of the watch is to ensure that the

person subject to the watch is alive. PS 97. The Level 3 watch imposes two responsibilities on

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officers: that the officers conduct their own checks and that they ensure the inmate monitors

under their supervision conduct their checks and accurately report them. PS 95, 97-98.

       Defendant Officers Young and Moody were familiar with these rules. PS 102. Young had

worked in the B Module at BCCF for nine years, had frequently seen people placed on various

watch statuses in that housing area, and knew that he was required to pay attention to people on

watch from the moment he started his shift. PS 99-103. In particular, Young and Moody were

aware of the importance of inmate monitors, recognizing that if an inmate monitor failed to

perform required observations, then that failure would be the same as if the officers failed to do

their own watches. PS 104-05. This meant that at least one officer in the housing area was

required to ensure the inmate monitor prepared an accurate report documenting observations of a

person on watch. PS 106.

       J.      Mr. Freitag’s Death by Suicide on August 25, 2018

       Young knew that Mr. Freitag had resided in B Module for weeks; he had been on a Level

3 watch for much of his time there, and, when he returned from court on August 24, Young

escorted him back to the unit. PS 107-08. The next morning, Young and Moody were assigned to

work the 6 am to 2 pm shift in B Module. At 9:12 am, Mr. Freitag left his cell to obtain

medication, and returned to his cell at 9:16 am. PS 110. At 10:21 am, Officer Tory Murphy, who

entered the B Module for a short time while Officer Moody took a break, observed Mr. Freitag in

his cell. PS 109, 111. An inmate monitor checked Mr. Freitag’s cell at 10:32 am. PS 112.

       At 10:55 am, an incarcerated person happened to walk by Mr. Freitag’s cell. PS 115. No

officer had checked Mr. Freitag’s cell since 10:21, a period of 34 minutes, and no inmate

monitor had checked Mr. Freitag’s cell since 10:32, a period of 23 minutes. PS 113-14. The

person who walked by the cell looked in and yelled to Young and Moody that Mr. Freitag was

covered in blood. PS 115. Moody went to the cell, saw large pools of blood, and yelled to Young

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to call a medical emergency. PS 116. Young did so, and multiple BCCF personnel reported to

the B Module. Id. Mr. Freitag was found to have multiple wounds on his arms. Resuscitation

efforts were not successful, and Mr. Freitag was pronounced dead at 11:19 am. PS 117.

        Investigators found pools of blood all over the cell, and they located what appeared to be

human tendons and arteries strewn about the cell. PS 119. They discovered a jagged piece of

plastic near one of the pools of blood and determined that it came from a shattered plastic coffee

cup of the type that BCCF made available for use by incarcerated people. They determined that

Mr. Freitag used the piece of plastic to gouge holes in his left and right arms. The Bucks County

Coroner’s Office later concluded that Mr. Freitag’s death was a suicide caused by these self-

inflicted wounds. PS 112. Additionally, forensic pathology expert testimony confirmed that,

given the implement used and the depth and number of wounds, it took at least 15 minutes from

the time he started harming himself for Mr. Freitag to reach a point where he could not be saved.

PS 121.

        K.      Officer Young and Moody’s Deliberate Failure to Follow the Level 3 Watch
                Protocol

        When Young and Moody arrived for their shift in B Module at 6 am on August 25, they

knew Mr. Freitag had been placed on a Level 3 watch. PS 122. Despite that knowledge, they

failed to fulfill their dual responsibilities to carry out the watch. First, with respect to officer

watches, once Officer Murphy observed Mr. Freitag at 10:21 am (an observation that Young

failed to record in the computerized log), neither Young nor Moody conducted any watch until

they were alerted to a medical emergency 34 minutes later. PS 123-25. They failed to do so

notwithstanding the fact that Young was idly standing behind a podium (with no sightline into

Mr. Freitag’s cell) for 30 out of the 34 minutes in that period. PS 123.




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       Second, with respect to their duty to supervise the inmate monitor, neither Young nor

Moody had any knowledge as to whether the assigned monitor observed Mr. Freitag at any time.

The assigned monitor, Hugh Caldwell, had completed an “inmate monitor form” reporting that

he saw Mr. Freitag 20 times, every 15 minutes between 6:15 am and 10:45 am. PS 126-27.

Video footage, however, shows that Caldwell observed Mr. Freitag in his cell only twice, once at

8:47 am and again at 10:32 am. PS 128. Neither Young nor Moody had ever looked at the form

and thus did not know, for example, that Caldwell had reported that Mr. Freitag was sleeping in

his cell at 9:15 am when video footage from 9:15 am showed Mr. Freitag out of his cell and

standing in line for medications. PS 131-32. Even during their depositions in December 2020, 28

months after Mr. Freitag’s death, neither Young nor Moody had any idea whether Caldwell

looked in Mr. Freitag’s cell a single time on the morning of August 25, 2018. PS 133.

       In their testimony, Young and Moody insisted they had acted appropriately. They

believed it was permissible not to observe Mr. Freitag themselves and thought it would have

been acceptable to wait until 11:00 am—39 minutes after the last observation. PS 135-36. And,

with respect to their supervision of inmate monitors, Young, after noting that he made a practice

of not reviewing inmate monitor forms to ensure compliance with watch directives, explained

that he expected monitors not to do their jobs, stating: “So they are paid $3 a day to stand in front

of somebody’s door and mark down whether they are sleeping, eating, pooping. Imagine what $3

a day gets you.” PS 137-39. The fact that Caldwell did not observe Mr. Freitag as he was

required was, in Young’s words, “$3 a day not well spent.” PS 140. Ultimately, Young and

Moody claimed there was nothing they could have done differently to address the risk of harm to

Mr. Freitag, with Young explaining that the only thing that could have prevented the death

would have been Mr. Freitag “not going to jail.” PS 141.



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       L.      Bucks County’s Failure to Ensure Officers’ Compliance with Watch
               Protocols

       The conduct of Officers Young and Moody with respect to implementing the Level 3

watch protocols is consistent with an established pattern at BCCF, known and accepted at Bucks

County’s highest ranks. In 2016, inspectors from the National Commission on Correctional

Health Care (NCCHC) conducted a site visit at BCCF and, in their observation of suicide

prevention practices, noted (and reported to Bucks County in June 2016) that “correctional

officers were not participating in the watches, nor were they consistently observing the inmates

while they were performing the watches.” PS 142-43. In response to that advisory, Bucks County

informed NCCHC it would implement training measures, including officer training; however,

according to Captain James Nottingham, Bucks County’s corporate designee regarding training,

the County has no documentation of that training. PS 144-47.

       Documentation of NCCHC’s findings was disclosed at the end of the discovery period in

this litigation.4 Nottingham, who, as noted, was the designee named to testify concerning the

NCCHC issues, had testified in another deposition earlier in the case regarding officer training;

because he had served as the training lieutenant starting in late 2018, he offered testimony on

how officers were trained regarding implementation of watch procedures and claimed he had

never heard any reports of problems in the way officers conducted their watches or supervised

inmate monitors. PS 148-49. Once he reviewed the NCCHC materials, however, he

acknowledged he had never received any information about the NCCHC findings and that, had

he seen those materials, he would have testified differently in his first deposition. PS 150.




4
 The Court granted plaintiff an extension of discovery deadlines to allow for a designee
deposition regarding these documents. ECF 76.
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       The issues identified by NCCHC were, according to a different Bucks County designee,

Deputy Superintendent Kelly Reed, who testified concerning the County’s practices for mental

health treatment at BCCF, well known for years. Reed explained that throughout her career she

had heard hundreds of complaints from officers that they were expected to complete too many

watches and could not fulfill all of the responsibilities Bucks County policies required of them.

PS 151. Additionally, according to Reed, no one in a supervisory position was checking to

ensure that officers did their jobs regarding watches and, based on Reed’s experience, there was

no basis to conclude that officers actually carried out the ordered watches. PS 152. As Reed

testified: “I don’t believe there was any follow through from the Administration to confirm that

everybody is following rules and regulations of the facility.” PS 153. To Reed’s knowledge, no

changes were made to the absence of such supervisory involvement until sometime in 2019 when

she took her deputy superintendent position. PS 155. Officer Young’s experience bore out this

assessment as he did not recall any supervisor telling him that inmate monitors were not doing

their jobs. PS 154. Additionally, Hugh Caldwell, the inmate monitor who failed to check Mr.

Freitag on August 25, 2018, confirmed that in his experience none of the officers ever took steps

to ensure he was performing his assigned checks which led to situations where he would miss

checking on the people he was assigned to watch. PS 157.

       The lack of follow through regarding watch procedures was further observed in Bucks

County’s approach to the investigation of Mr. Freitag’s death. The county official assigned to

supervise that investigation, Frank Bochenek, acknowledged that he focused only on whether

someone else had killed Mr. Freitag, and, once he concluded that this was not the case, he

conducted no investigation into whether officers fulfilled their duties. PS 158-65. Bochenek did

not investigate this issue until October 2019, 14 months after Mr. Freitag’s death, when a suicide

prevention expert was present at BCCF and asked for details on Mr. Freitag’s death. PS 166. It

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was only at that point that Bochenek prepared a memorandum noting that “there was no inmate

monitor observed checking on [Mr. Freitag].” PS 167-68. Even then, however, there was no

investigative follow up as neither Moody nor Young were interviewed about their job

performance. PS 169. Instead, it was not until the litigation of this case, when supervisors

including Deputy Warden Mitchell and Captain Nottingham were deposed, that any

administrative staff were asked to consider the officers’ performance. After they were presented

with Young and Moody’s testimony insisting they had acted appropriately, Mitchell and

Nottingham acknowledged that Young and Moody required discipline and training. PS 170-76.

However, as of Nottingham’s second deposition, 11 months after his first in which he described

the need for discipline, no such discipline had been imposed. PS 177.

        M.      PrimeCare’s Policy Changes Following Mr. Freitag’s Death

        After Mr. Freitag’s death, PrimeCare made two changes to practices that were significant

factors in Mr. Freitag’s death. First, as part of its mortality review process, it instituted a rule that

any person at BCCF who received a state sentence would be placed on Level 2 status, a status

that results in assignment to a stripped cell under the constant observation of an inmate monitor.

PS 178-79. Second, PrimeCare expanded the hours for its mental health clinicians to ensure

availability when people return from court. PS 180-82. Had these practices been in place in

August 2018, according to Dr. Cassidy, Mr. Freitag would have likely been seen by a mental

health clinician following his sentencing, an encounter that would have led to a full risk

assessment or placement on a status with constant observation and a stripped cell. PS 183-85.

III.    Summary Judgment Standard

        Summary judgment should only be granted if “the pleadings, the discovery and

disclosure materials on file, and any affidavits show that there is no genuine issue as to any

material fact and that the movant is entitled to judgement as a matter of law.” Celotex Corp. v.

                                                   16
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Catrett, 477 U.S. 317, 322 (1986). There is a genuine issue of material fact when “the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A factual dispute bars summary judgment when it

“might affect the outcome of the suit under governing law.” Id. In deciding a summary judgment

motion, the Court must “view the record in the light most favorable to the non-moving party and

draw all reasonable inferences in that party’s favor.” Thomas v. Cumberland Cty., 749 F.3d 217,

222 (3d Cir. 2014) (citation omitted).

IV.    Argument

       A.      Legal Standards

               1.      Eighth Amendment Standard

       Defendants violated Mr. Freitag’s Eighth Amendment rights when they failed to take

appropriate measures to respond to his clear, known risk of self-harm and suicide. The Eighth

Amendment prohibits prison staff and contractors from acting with deliberate indifference to

incarcerated peoples’ serious healthcare needs and any substantial risks of serious harm. Estelle

v. Gamble, 429 U.S. 97, 104 (1976); Farmer v. Brennan, 511 U.S. 825, 828 (1994). When an

incarcerated person ends their life while in custody, the Third Circuit has held that prison

officials and subcontractors have violated the Constitution if “(1) the detainee had a particular

vulnerability to suicide, (2) the custodial officer or officers knew of should have known of that

vulnerability, and (3) those officers acted with reckless indifference to the detainee’s particular

vulnerability.” Colburn v. Upper Darby Tp., 946 F.2d 1017, 1023 (3d Cir. 1991).

       In Colburn and many subsequent cases, the Third Circuit has used the language of “self-

inflicted injury,” “self-inflicted harm,” and “self-harm” interchangeably with suicide. Id. at

1025; see also Woloszyn v. Cty. of Lawrence, 396 F.3d 314, 320 (3d Cir. 2005) (“‘the risk of self-

inflicted injury must not only be great, but also sufficiently apparent’” (quoting Colburn,

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emphasis added)); Joines v. Twp. of Ridley, 229 Fed Appx. 161, 163 (2007) (“Joines’s behavior

in no way demonstrated that he was inclined towards self-inflicted harm” (emphasis added));

Palakovic v. Wetzel, 854 F.3d 209, 230 (3d Cir. 2017) (“our statements...requiring a plaintiff to

demonstrate a ‘strong likelihood’ of self-harm were never intended to demand a heightened

showing at the pleading stage” (emphasis added)). See also Wilson v. Taylor, 597 F. Supp. 2d

451, 460 (D. Del. 2009) (“a genuine issue of material facts exists as to whether or not defendants

acted with deliberate indifference to Wilson’s risk of hurting himself” (emphasis added)).

       The law is, therefore, clear that particular vulnerability to suicide and particular

vulnerability to self-harm or self-injurious behavior are equivalent concepts. See Shirey v.

Landonne, No. 18-4960, 2019 WL 1470863, at *8 (E.D. Pa. April 3, 2019) (finding deliberate

indifference to plaintiff’s suicidal tendencies appropriately pled with regard to an attempted

suicide not resulting in death). When an incarcerated person is specifically vulnerable to self-

inflicted harm or suicide, and security or medical staff of a facility know or should know of that

vulnerability but are recklessly indifferent to its risks, they have violated the Eighth Amendment.

               2.      Monell Liability Standard

       Plaintiff’s claims against Bucks County and PrimeCare are brought under Monell v. Dept.

of Social Servs., 436 U.S. 658 (1978), which holds that a municipal entity is liable under 42

U.S.C. § 1983 when the entity’s policy, practice, or custom is a moving force of a constitutional

violation. 436 U.S. at 694. In the absence of a formal policy, an entity’s custom can establish

municipal liability. A custom “can be proven by showing that a given course of conduct,

although not specifically endorsed or authorized by law, is so well-settled and permanent as

virtually to constitute law.” Bielevicz v. Dubinon, 915 F.2d 845, 850 (3d Cir. 1990).

       A failure to train, supervise, discipline, or control municipal entity employees can also

constitute a basis for liability when the “failure…reflects deliberate indifference to the

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constitutional rights of [the municipality’s] inhabitants.” City of Canton v. Harris, 489 U.S. 378

(1989). Claims based on a failure to train theory do not require a showing of previous instances to

put the defendant on notice. Rather, “the need for training ‘can be said to be ‘so obvious,’ that

failure to do so can be characterized as ‘deliberate indifference’ to constitutional rights’ even

without a pattern of constitutional violations.” Thomas v. Cumberland Cty., 749 F.3d at 223.

       B.      The PrimeCare Defendants’ Motion Should Be Denied.

       The evidence adduced in discovery shows that a reasonable jury may find that defendants

Christina Penge, Jessica Mahoney and PrimeCare are liable for Mr. Freitag’s death due to the

individual and systemic deliberate indifference that led him to take his own life. Their motion for

summary judgment should be denied.

               1.      Defendants Penge and Mahoney Violated Mr. Freitag’s Eighth
                       Amendment Rights.

       Defendants Penge and Mahoney were both aware of Mr. Freitag’s particular vulnerability

to suicide and self-injury and were deliberately indifferent to the risk he would harm himself.

                       a.      Mr. Freitag was Particularly Vulnerable to Self-Harm and
                               Suicide and Defendants Mahoney and Penge were Aware of
                               that Vulnerability.

       Plaintiffs alleging deliberate indifference to a particular vulnerability to suicide do not

have to show that an individual’s suicidality “was temporally imminent or somehow clinically

inevitable. A particular individual’s vulnerability to suicide must be assessed based on totality of

the facts presented.” Palakovic 854 F.3d at 230. The totality of the facts in this case presents a

stark and clear picture of particular vulnerability and awareness of that vulnerability on the part

of defendants Mahoney and Penge.

       Mr. Freitag’s particular vulnerability to self-inflicted harm was evident from the time of

his arrival at BCCF. By mid-June, Penge and Mahoney knew Mr. Freitag had multiple prior


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suicide attempts and that his most recent attempt resulted in his arrest, conviction, and

incarceration. PS 24. They knew Mr. Freitag had diagnosed mental health disorders, PS 90, that

he had multiple inpatient psychiatric hospitalizations in 2017, PS 13, and that he thought of

harming himself whenever he became depressed. PS 19. In late July 2018, Mr. Freitag’s

attorney, at the urging of his family, contacted the facility with concerns about his mental state,

specifically mentioning his history of suicide attempts. PS 28-29. After a mental health

encounter following that advisory, Dr. Cassidy sent an email to the entire mental health staff,

including defendants Penge and Mahoney pointing out significant risk factors, including Mr.

Freitag’s history of self-inflicted injury and suicide attempts, and the heightened risk posed by

his upcoming sentencing. PS 37-38.

        Mr. Freitag’s particular vulnerability became more obvious as his court date approached.

For weeks, he reported growing anxiety over his sentencing while at the same time convincing

himself he would be released with a probationary sentence. PS 57-58. That certainty was

combined with, as Penge found, persistent limited insight and judgment which prevented Mr.

Freitag from even considering the prospect that he could return to prison after his sentencing—

let alone receive a sentence that would result in his incarceration for at least another six years.

Penge and Mahoney fully understood the familiar concept that critical events in a criminal case

increase the risk of suicidality. Thus, when Mr. Freitag had his last encounter with Mahoney on

August 22 and with Penge on August 23, he was in a deeply precarious position.5

       The PrimeCare defendants’ suggestion that because Mr. Freitag did not explicitly state

that he was suicidal he was not particularly vulnerable, ECF 77-1 at 16, is undermined by the


5
  Even if Mahoney and Penge did not learn specific information in their encounters with Mr.
Freitag, a jury can draw the inference that they reviewed all entries in Mr. Freitag’s medical chart
and were aware of all information contained in the chart. See Palakovic, 854 F.3d at 231 (noting
reasonable inferences as to knowledge of particular vulnerability).
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testimony of PrimeCare’s own mental health supervisor, Dr. Cassidy.6 As she explained, it is a

well-known fact to mental health clinicians that people who are suicidal often do not share that

information and that a proper inquiry into one’s vulnerability to suicide must go far beyond the

individual’s stated level of suicidal ideation. PS 73.

                       b.      Defendants Penge and Mahoney were Deliberately Indifferent
                               to Mr. Freitag’s Particular Vulnerability.

       The PrimeCare defendants argue that because mental health staff saw Mr. Freitag on

several occasions, they were not deliberately indifferent to his mental health care needs and risk

of self-injury. ECF 77-1 at 16. However, healthcare providers in jails and prisons are

constitutionally obligated to provide not just care, but “adequate” care. Monmouth Cty. Corr.

Inst. Inmates v. Lanzaro, 834 F.2d 326, 347 (3d Cir. 1987) (citing Estelle, 429 U.S. at 105). This

is also true with regard to mental health care, including in cases when an incarcerated person is

able to end their life in custody. Stuart v. Pierce, No. 17-934, 2022 WL 605821, at *6 (D. Del.

Feb. 24, 2022) (“the care Stuart allegedly received—minimal and sporadic contact with nurses

and psychiatric workers—can be insufficient to treat a seriously mentally ill prisoner and

indicate reckless disregard when the treatment is clearly ineffective”); see also Clark v. Coupe,

No. 1:17-cv-00066, 2019 WL 1349484, at *3 (D. Del. March 26, 2019) (“the fact that DOC

Defendants allowed Plaintiff occasional visits with mental health providers does not per se

immunize them from liability”).

       Even in situations where prison personnel have provided substantial medical care, they

may be deemed deliberately indifferent where they “opt for ‘an easier and less efficacious

treatment’ of the inmate’s condition.” Monmouth Cty. Corr. Inst. Inmates, 834 F.2d at 347


6
  The PrimeCare defendants fail to even mention Dr. Cassidy’s testimony in their brief and
statement of facts, an omission that is especially glaring with respect to plaintiff’s Monell claims
against PrimeCare. See infra § IV.B.2.
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(quoting West v. Keve, 571 F.2d 158, 162 (3d Cir. 1978)). Following this principle, “[p]rison

officials may not entirely insulate themselves from liability under § 1983 simply by providing

some measure of treatment.” Jones v. Muskegon Cty., 625 F.3d 935, 944-45 (6th Cir. 2010); see

also Snow v. McDaniel, 681 F.3d 978, 986 (9th Cir. 2012) (quoting Lopez v. Smith, 203 F.3d

1122, 1132 (9th Cir. 2000)) (noting that “‘[a] prisoner need not prove that he was completely

denied medical care’ in order to prevail”); Berry v. Peterman, 604 F.3d 435, 441 (7th Cir. 2010)

(citing Sherrod v. Lingle, 223 F.3d 605, 611 (7th Cir. 2000)) (“[A] prisoner also is not required

to show that he was literally ignored”). These principles hold true in the mental health field;

providers have been deemed deliberately indifferent for removing someone from suicide watch

when it was not clinically indicated even if they engaged in extensive treatment encounters.

Carlos v. York Cty., No. 15-1994, 2019 WL 6699710, at *20 (M.D. Pa. Dec. 9, 2019); Estate of

Kempf v. Wash. Cty., No. 15-1125, 2018 WL 4354547, at *25 (W.D. Pa. Sept. 12, 2018).

       As Penge and Mahoney were aware, it is commonly understood in the prison

environment that suicidal and self-harming behavior is more likely at critical time periods in a

person’s criminal case, such as after a denial of bail, a jury verdict, or a sentencing. PS 8. Mr.

Freitag clearly communicated that he was, on the one hand, worried about his sentencing, while,

on the other hand, communicating his expectation that he would be released and return to his job.

PS 57-58. Given the clinical determination made by Penge—and known by Mahoney—that Mr.

Freitag lacked insight and judgment, this combination of factors made Mr. Freitag’s sentencing

an obvious inflection point for Mr. Freitag’s risk of self-harm. Indeed, as Dr. Cassidy expressly

acknowledged, all clinicians on the BCCF mental health staff would be expected to know that

Mr. Freitag’s risk factors were connected to his sentencing. PS 38.

       In the face of this knowledge, defendant Mahoney failed to ensure that Mr. Freitag would

be seen directly following his sentencing. On June 15, two months before his sentencing, Mr.

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Freitag asked Mahoney to schedule a mental health follow-up appointment after his sentencing

“because he figured he would need somebody to talk to afterwards.” PS 23. Mahoney did not

schedule an appointment or any other type of intervention after Mr. Freitag’s sentencing. Nor, in

the face of mounting evidence that Mr. Freitag would be at risk as sentencing approached, did

she take any steps to create an alert for the correctional staff as to how to address Mr. Freitag’s

mental health.7 Instead, she scheduled an appointment for August 27, 2018, a woefully

inadequate step given Mahoney’s knowledge of Mr. Freitag’s risk factors. PS 26. As plaintiff’s

forensic psychology expert, Dr. Mary Perrien, explained, this failure is evidence of insufficient

treatment planning, a step critical to the adequate provision of mental health care. PS 187.

       Penge, like Mahoney, did not take steps to ensure a necessary follow-up after Mr.

Freitag’s sentencing. Additionally, Penge’s decisions prior to sentencing greatly enhanced Mr.

Freitag’s risk. When she saw him on August 17, just a week before sentencing, she removed him

from Level 3 watch despite the fact he had been anxiously awaiting sentencing for weeks,

despite the fact he had limited insight and judgment, and despite the fact her supervisor, Dr.

Cassidy, intended Mr. Freitag to remain on that watch through sentencing and that any decision

to remove him from this level should be cleared with her first. PS 48-53. This decision was

highly consequential after sentencing. When Mr. Freitag returned to BCCF after sentencing and

correctional staff saw he was not on any level of watch, and without any communication from

Penge (or Mahoney), correctional staff were left with the impression that the Level 3 watch was

appropriate—a decision Dr. Cassidy confirmed was insufficiently protective.

       If Mr. Freitag had been seen after court, mental health staff would have had the

opportunity to conduct a more thorough assessment taking into account all of the circumstances


7
 This became a commonly accepted practice for Dr. Cassidy following Mr. Freitag’s death. PS
186.
                                                 23
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of the sentencing. PS 184. Additionally, if Mr. Freitag had been placed on more intensive status,

such as Constant Watch, Level 1, or Level 2, it would have been more difficult for him to end his

life, both due to increased supervision and lack of access to the means he used to effectuate his

suicide. PS 185. Penge and Mahoney had the information necessary to understand Mr. Freitag

required immediate mental health care and appropriate precautionary measures after his

devastating, life-altering sentencing. Because they did nothing to adequately intervene, a

reasonable jury could conclude they were deliberately indifferent.

               2.      Defendant PrimeCare is Liable for Mr. Freitag’s Death.

       PrimeCare, a private medical care provider, is a municipal entity for purposes of a Monell

claim as it has been contracted to fulfill a municipal function. Eckstorm v. Cmty. Educ. Ctrs.,

Inc., No. 19-782, 2019 WL 3804146, at *5 (E.D. Pa. Aug. 12, 2019). As such, PrimeCare is

liable for any constitutionally inadequate policies, customs, and failures to train, supervise, and

discipline its employees. The summary judgment record shows that PrimeCare was a moving

force in causing the constitutional violations leading to Mr. Freitag’s death in two different

respects: by maintaining a deficient policy regarding mental health staff availability and by

failing to train and supervise its providers in appropriately assessing and treating patients.

                       a.      PrimeCare’s Deficient Policy of Failing to Provide Mental
                               Health Interventions Following Critical Events

       PrimeCare knowingly adopted a policy and practice allowing correctional staff—

insufficiently trained in the identification of risks of self-harm—to be the sole decisionmakers

regarding how to protect people returning to BCCF at critical moments in their criminal

proceedings. It did so with the understanding that these critical moments enhance the risk of self-

harm, and it did so knowing that easy fixes—extending staff time by approximately one hour

each day and by ensuring proactive communication to correctional staff—were readily available.


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       Under established Third Circuit law, a Monell claim need not prove a facially

unconstitutional policy. Instead, “[a reasonable jury] could also infer that the failure to establish

a more responsive policy caused a specific constitutional violation.” Natale v. Camden City, 318

F.3d 575, 585 (3d Cir. 2003). Here, similar to the defendants in Natale, PrimeCare failed to

establish a policy addressing immediate needs of incarcerated people with serious vulnerabilities

following critical events. Just as the plaintiff in Natale was forced to wait up to 72 hours to

receive necessary medication, id. at 585, PrimeCare’s policy resulted in circumstances where Mr.

Freitag could not be seen for three days for immediately necessary mental health care. As

plaintiff’s expert, Dr. Perrien explained, this system resulted in an obvious risk of harm. PS 188.

       Prison medical providers cannot wantonly delay treatment and care without running afoul

of the Eighth Amendment. It is regularly understood that delaying an incarcerated person’s

necessary medical care for non-medical reasons supports a finding of deliberate indifference.

Rouse v. Planiter, 182 F.3d 192, 197 (3d Cir. 1999). When there is a delay, “there is no

presumption that the defendant acted properly...all that is needed is for the surrounding

circumstances to be sufficient to permit a reasonable jury to find that the delay or denial was

motivated by non-medical factors.” Pearson v. Prison Health Serv., 850 F.3d 526, 537 (3d Cir.

2018). Indeed, “systemic deficiencies in staffing which effectively deny inmates access to

qualified medical personnel for diagnosis and treatment of serious health problems have been

held to violate constitutional requirements.” Inmates of Allegheny Cty. Jail v. Pierce, 612 F.2d

754, 762 (3d Cir. 1979). This is precisely what PrimeCare’s policy formalized: a systematic

delay in immediately necessary medical care in the form of post-court mental health evaluations

due to non-medical, staffing considerations.

       PrimeCare mischaracterizes plaintiff’s position as demanding “24/7 onsite mental health

care,” and argues that the policy in place was sufficient because correctional staff were available

                                                  25
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after individuals returned from court and were able to call mental health staff if they believed it

necessary. ECF 77-1 at 20. This defense ignores the common-sense constitutional principle that a

municipal entity may not delegate decisions requiring specialized medical knowledge to

unqualified correctional staff. Inmates of Allegheny Cty. Jail, 612 F.2d at 763 (“when inmates

with serious mental ills are effectively prevented from being diagnosed and treated by qualified

professionals, the system of care does not meet the constitutional requirements set forth by

Estelle v. Gamble”); Beckwith v. Blair County, No. 3:18-cv-0040, 2022 WL 267428, at *10

(W.D. Pa. Jan. 28, 2022) (upholding Monell claim where correctional staff were permitted to

make decisions about suicide watch status without consulting mental health clinicians).

       PrimeCare’s defense also makes little sense on the facts. The staffing practices required

correctional staff to make decisions about mental health interventions when they did not know

how to make such decisions. As Deputy Warden Mitchell confirmed, if mental health

professionals had been on site when Mr. Freitag returned from court, he would have contacted

them to discuss which precautions were appropriate to order, but, without their presence, and

without knowledge of Mr. Freitag’s full history, he was “handcuffed” in his decision-making. Cf.

Beckwith, 2022 WL 267428, at *10 (finding that a reasonable jury could conclude that “County

Defendants had a deficient policy which permitted corrections officers to remove a detainee from

suicide watch without a mental health evaluation, and did not provide for clear communication

between corrections officers and medical staff).

       PrimeCare’s reliance on Alexander v. Monroe Cty, No. 3:13-cv-01758, 2016 WL

6953477 (M.D. Pa. Sept. 7, 2016), is misplaced. In Alexander, the court addressed a policy that

did not provide for sharing of legal records or court scheduling information, which the plaintiff

contended deprived medical and mental health providers of information that could have been

useful in their risk assessments. Id. at *14. In the instant case, however, PrimeCare’s policy is

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infirm not because of the failure to provide information to treating medical staff, but, rather, the

failure to make necessary staff available at all. In direct contrast to the facts of Alexander, here,

PrimeCare staff knew that Mr. Freitag was returning from sentencing and knew that sentencing

had substantial potential to increase his risk of self-harm, but, as a result of its policy, there was

no meaningful treatment available. While Alexander focuses on deficiencies in Monroe County’s

policy regarding information available to treating providers, PrimeCare employees had all the

information they needed to adequately treat Mr. Freitag, but due to their employer’s policy, they

were not available to act on that information when Mr. Freitag was most vulnerable.

        In these circumstances, a reasonable jury could find that PrimeCare’s policy to dismiss

mental health staff before individuals returned from court was the moving force behind the

deliberate indifference shown to Mr. Freitag.

                        b.      PrimeCare’s Failure to Train and Supervise Mental Health
                                Staff

        In the prison medical context, the risk of providing inadequate care to incarcerated people

who have no other means of obtaining treatment is so obvious that failing to appropriately train

or supervise front-line staff creates a triable issue without evidence of a pattern of constitutional

violations. Ponzini v. Monroe Cty, No. 3:11-cv-00413, 2015 WL 5123635, at *14 (M.D. Pa.

Aug. 31, 2015) (“[G]iven such a system [where incarcerated people must rely on prison

authorities for medical care], it is vital that front-line staff have training adequate to meet the

demands placed upon them. Failure to do so makes it ‘highly predictable’ that constitutional

violations would occur as a result”). PrimeCare’s failure to train and supervise its mental health

staff regarding watch level precautions created this highly predictable risk and led to the

inadequate treatment Mr. Freitag received.




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       Dr. Cassidy, Penge and Mahoney’s supervisor, indicated that, given his clear risk factors,

Mr. Freitag should have remained on Level 3 watch at least through his sentencing and that any

clinical decision to the contrary should be confirmed with her first. PS 36, 39. Despite receiving

Cassidy’s guidance on this point, Penge removed Mr. Freitag from Level 3 watch 16 days later

without speaking to anyone, let alone her supervisor, Dr. Cassidy. PS 50. Significantly, Penge

made this decision a week before Mr. Freitag’s sentencing, which left plenty of time for Dr.

Cassidy to remedy it. A jury could reasonably determine that the failure to do so constitutes a

failure on the part of PrimeCare, through its BCCF supervisor, Dr. Cassidy, to supervise mental

health clinicians. Additionally, for similar reasons to those discussed above regarding the impact

on correctional staff of removing the Level 3 status, a reasonable jury could conclude that this

failure resulted in correctional staff perceiving that Mr. Freitag was at less of a risk than was

actually true, which led to his placement on an inadequate Level 3 watch after sentencing.

       Accordingly, plaintiff should be permitted to present to a jury his claim regarding

PrimeCare’s failure to train and supervise its clinicians.

               3.      The Court Should Exercise Supplemental Jurisdiction to Hear
                       Plaintiff’s State Law Claims.

       In addition to his federal constitutional claims, plaintiff also asserts supplemental state-

law negligence claims against PrimeCare and the individual medical defendants. The PrimeCare

defendants do not contest that the summary judgment record supports negligence claims, but,

instead, argue that the Court should dismiss those claims so that they can be heard in state court.

If the Court were to grant summary judgment on plaintiff’s constitutional claims—which, given

the record and legal principles discussed above and below, it should not—plaintiff submits that,

given the Court’s extensive expenditure of resources to develop an understanding of the facts and




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issues in this case, the Court should use its discretion under 28 U.S.C. § 1367(c) to exercise

jurisdiction over the state law claims.

       C.      The Bucks County Defendants’ Motion Should be Denied.

       The Bucks County defendants’ motion should also be denied as plaintiff has offered

sufficient evidence to support constitutional claims against defendants Young and Moody and a

Monell claim against Bucks County.

               1.      Defendants Moody and Young Violated Mr. Freitag’s Clearly
                       Established Constitutional Rights.

                       a.         Defendants Moody and Young Were Deliberately Indifferent
                                  to Mr. Freitag’s Known Risk of Self-Injury.

                             i.           Mr. Freitag was Particularly Vulnerable to Self-Injury
                                          and Suicide on August 25, 2018.

       As discussed above with regard to plaintiff’s claims against defendants Penge and

Mahoney, in the time before Mr. Freitag’s sentencing, a range of factors, including his mental

health and inpatient hospitalization history, his prior suicide attempts, and his repeatedly

expressed anxiety about how imprisonment could result in him losing his job, provided

substantial evidence of Mr. Freitag’s particular vulnerability to suicide. See supra § IV.B.1.a.

Those factors were present in advance of sentencing, before the relevant time for assessing

Young and Moody’s liability regarding their actions on August 25.

       On that date, of course, Mr. Freitag’s vulnerability was even more enhanced. His worst

fears about the impact of sentencing had come to fruition. Knowing he would spend at least the

next six years in prison meant the end of his 25-year career, which had been a source of great

pride prior to and even during his incarceration. With a history of three prior suicide attempts

and the added factor of a devastating result in a critical moment of his criminal case, Mr.




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Freitag’s condition unquestionably met the status of particularly vulnerable to self-harm as of the

morning of August 25.

                            ii.       Young and Moody had Sufficient Knowledge of Mr.
                                      Freitag’s Particular Vulnerability to Self-Injury and
                                      Suicide.

       When evaluating whether prison staff knew of an individual’s risk of self-harm under

Colburn, “it is not necessary that the custodian have a subjective appreciation of the detainee’s

‘particular vulnerability.’” Colburn, 946 F.2d at 1025. In rejecting a subjective standard, the

Third Circuit explained “that ‘reckless or deliberate indifference to that risk’ only demands

‘something more culpable on the part of the officials than negligent failure to recognize the high

risk of suicide’” Palakovic, 854 F.3d at 231 (citing Woloszyn 396 F.3d at 320). “[S]ubjective

knowledge on the part of the official can be proved by circumstantial evidence to the effect that

the excessive risk was so obvious that the official must have known the risk.” Woloszyn, 396

F.3d at 321 (quoting Beers-Capitol v. Whetzel, 256 F.3d 120 (3d Cir. 2001)).

       Young and Moody insist that they had no idea Mr. Freitag was at risk of harm on the

morning of August 25. But those denials must be weighed against the ample circumstantial

evidence that was available to them to make Mr. Freitag’s individual risk sufficiently apparent.

Crucially, both Officers Young and Moody knew Mr. Freitag was on Level 3 status. PS 122. As

Buck’s County’s supervisory officials, Deputy Warden Mitchell and Captain Nottingham,

testified, the Level 3 watch status is put in place for the specific purpose of preventing harm to

the person who is the subject of the watch. PS 94, 170, 174. That in itself should have alerted the

correctional defendants that Mr. Freitag was particularly vulnerable to self-inflicted injury.

       The Bucks County defendants’ contention that Level 3 watch was not a “suicide watch”

is a classic example of exalting form over substance, not supported by the law or the facts. As

noted above, supra § IV.A.1, the Third Circuit has recognized that the Eighth Amendment

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analysis contemplates situations where a person could harm themselves and is not confined to

cases involving completed suicides. And, on the facts, even if the law requires some notice of

“suicide,” as opposed to “harm,” the Level 3 watch status is defined within Bucks County’s

suicide prevention policy under the subheading “Levels of Suicide Watch.” JA 35, 37. In short,

because Young and Moody knew they were tasked with monitoring Mr. Freitag in compliance

with watch procedures intended to protect against self-harm, procedures which were defined

within the suicide prevention policy, there is more than sufficient circumstantial evidence to

support a finding that they knew Mr. Freitag was particularly vulnerable to that harm.

       Their awareness of the watch was not the only factor providing Young and Moody with

knowledge of Mr. Freitag’s vulnerability. Young knew Mr. Freitag had previously been placed

on Level 3 watch multiple times while he was housed on B Module. PS 107. Mr. Freitag was

sent to medical to meet with mental health providers numerous times during the period of time

he was housed on Young’s unit. ECF 77-1 at 5. Mr. Freitag had multiple visible scars on his

right forearm from his recent suicide attempts. PS 13. Young knew Mr. Freitag had just returned

from court on August 24, 2018, PS 108, and Young and Moody both knew the risk of suicidal

and self-harming behavior is higher after critical court events, including sentencing. PS 8.

       The self-serving assertions by defendant Young that he had no idea about Mr. Freitag’s

risk are seriously lacking in credibility. Young was Mr. Freitag’s block officer for approximately

two months. PS 107. Despite his responsibility to supervise Mr. Freitag throughout that period,

Young described not even knowing who he was. PS 107. Young claimed that Mr. Freitag’s death

could have been prevented by “him not going to jail.” PS 141. He flippantly dismissed the fact

that inmate monitor watch procedures were not followed with regards to Mr. Freitag. PS 140

(“That was $3 a day not well spent”). Young was also dismissive of the vulnerability of

incarcerated people with severe mental health issues, stating that people are screaming for help

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“all the time” and engage in “superficial [cutting] for attention.” PS 6. Young’s descriptions of

Mr. Freitag and his death reflect the very “absence of any concern for the welfare of his charges”

that the Third Circuit cautioned against. Colburn, 946 F.2d at 1025. Accordingly, because a

reasonable fact finder may determine that their willful and blatant derision directed toward the

vulnerable incarcerated people for whom they were responsible supports a finding of reckless

disregard of Mr. Freitag’s welfare, there is sufficient evidence at this stage to demonstrate Young

and Moody’s knowledge of Mr. Freitag’s particular vulnerability.

                            iii.      Young and Moody’s Failure to Monitor Mr. Freitag
                                      Constitutes Deliberate Indifference.

       Young and Moody were deliberately indifferent to Mr. Freitag’s particular vulnerability

to self-harm and suicide when they failed to perform and enforce Level 3 observation watch

procedures in direct violation of BCCF’s suicide prevention policy. Numerous courts have found

that when correctional officers do not complete prescribed checks of an incarcerated person who

is on a heightened level of watch or observation probative of deliberate indifference. Keohane v.

Lancaster Cty., No. 07-3175, 2010 WL 3221861, at *10 (E.D. Pa. Aug. 12, 2010) (finding that a

correctional officer failing to properly observe individual on watch status “could establish his

reckless indifference”); Rogers v. Santa Rosa Cty. Sheriff’s Office, 856 Fed Appx. 241, 255 (11th

Cir. 2021) (“a jury could find that, had the deputies monitored Escano-Reyes, they could have

prevented him from committing suicide and that their failure to perform the task assigned to

them constituted deliberate indifference”); Estate of Conroy v. Cumberland Cty., No. 17-1783,

2020 WL 7417983 *7 (D.N.J. Dec. 18, 2020) (“a jury could find that they acted with deliberate

indifference by disregarding their duties and failing to conduct their suicide watch checks”);

Sabbie v. Southwestern Cor. LLC, 5:17-cv-113, 2019 U.S. Dist. LEXIS 214463 *127 (E.D. Tex.

March 6, 2019) (“a jury could infer deliberate indifference on the part of Defendant Nash, who


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also indicated she did twenty-four visual checks when she did not do any”); Shepard v. Hansford

Cty, 110 F. Supp. 3d 696, 711 (N.D. Tex. 2015) (“she acted with deliberate indifference by

intentionally prioritizing her other duties over her suicide watch duties and by failing to take

steps to protect Lacy from harm”).

       More broadly, it is well-established what when an official “knows of a prisoner’s need

for medical treatment but intentionally refuses to provide it” they are deliberately indifferent.

Innis v. Wilson, 334 Fed Appx. 454, 456 (3d Cir. 2009). Accordingly, correctional staff are

deliberately indifferent when they fail to implement orders from medical staff. Bolling v. Carter,

819 F.3d 1035, 1036-37 (7th Cir. 2016). The Bucks County defendants’ rebuttal to these points,

that a violation of policy alone does not give rise to an Eighth Amendment violation, ECF 88 at

12, ignores the well-established principle that such violations are probative of deliberate

indifference. Shirey, 2019 WL 1470863, at *8 (citing Giandonato v. Montgomery Cty., No. 97-

cv-0419, 1998 WL 314694, at *5 (E.D. Pa. May 22, 1998)) (“The alleged failure to follow prison

protocol in the face of actual knowledge of Plaintiff’s suicidal tendencies suffices to state a

plausible claim of deliberate indifference.”). See also Arenas v. Calhoun, 922 F.3d 616, 624 (5th

Cir. 2019) ([A] knowing failure to execute policies necessary to an inmate’s safety may be

evidence of an officer’s deliberate indifference.”); Phillips v. Roane Cty., 534 F.3d 531, 541,

543-44 (6th Cir. 2008) (“[W]e find persuasive the correctional officers’ disregard of prison

protocols, which describe the actions that officers should take when an inmate makes certain

medical complaints or exhibits certain medical symptoms.”).

       On August 25, 2018, Young and Moody knew Mr. Freitag was on Level 3 watch. PS 122.

They knew that when an individual is on Level 3 precautions, they must be seen six times per

hour, with the officers performing checks every 30 minutes and the inmate monitors performing

checks every 15 minutes. PS 102. They knew their responsibility was to ensure that the subject

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of the watch was present and alive, or as Officer Murphy described, that they could see “living,

breathing flesh.” PS 97.

       Despite Young and Moody’s knowledge of these vital watch procedures and their

responsibilities to implement them, they utterly ignored their obligations, leaving Mr. Freitag

predictably and dangerously vulnerable to self-injury and his ultimate death. At the outset, they

failed to conduct the checks for which they were responsible and believed it would have been

acceptable for them to wait close to 40 minutes to conduct the next check on Mr. Freitag’s cell.

And, with regard to their supervision of the assigned inmate monitor, their inattention to their

obligations was so extreme that, Hugh Caldwell, observed Mr. Freitag only twice during a five-

hour period—a fact that they did not learn until their depositions more than two years after Mr.

Freitag’s death. This failure to follow protocols is all the more striking—and all the more

deliberate—in view of the fact that video surveillance footage shows Young idly standing behind

a podium on B Module from 10:21 to 10:55, except for a brief four-minute period when he was

in the yard. PS 123. In that time, there is even more evidence of Young’s dilatory conduct as he

failed to fulfill his responsibly of recording information in a computerized log when Officer

Murphy checked Mr. Freitag’s cell. PS 124.

       In short, Mr. Freitag, already prone to self-harm and suicidality, was in a highly

vulnerable state following his sentencing. Young and Moody knew of that vulnerability and

knew that they were charged with the responsibility of protecting Mr. Freitag. Their failure to

follow through with that responsibility demonstrates their deliberate indifference and establishes

plaintiff’s constitutional claim against them.

                       b.      Young and Moody are Not Entitled to Qualified Immunity.

       Young and Moody contend that even if plaintiff has established proof of constitutional

violations they are entitled to qualified immunity. Qualified immunity is not a defense to an

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action under 42 U.S.C. § 1983 where defendants’ conduct violated “clearly established statutory

or constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald,

457 U.S. 800, 818 (1982). It is defendants’ burden to establish that they are entitled to qualified

immunity. Beers-Capitol, 256 F.3d at 142 n.15 (citing Stoneking v. Bradford Area Sch. Dist., 882

F.2d 720, 726 (3d Cir. 1989)). Young and Moody cannot meet that burden here.

       The Third Circuit has explained that “it need not be the case that the exact conduct has

previously been held unlawful so long as the ‘contours of the right’ are sufficiently clear.” E.D.

v. Sharkey, 928, F.3d 299, 308 (3d Cir. 2019). When prior cases, even if not involving the same

conduct, give “fair warning” that defendants’ actions were unconstitutional, there is no qualified

immunity. See Hope v. Pelzer, 536 U.S. 730, 741 (2002) (“Officials can still be on notice that

their conduct violates established law even in novel circumstances”). Defendants’ assertion that

no case exists with the exact facts surrounding Mr. Freitag’s death does not entitle them to

qualified immunity.

       An incarcerated person’s constitutional right to be free from deliberate indifference to a

serious medical need while in custody has been clearly established since 1976. Estelle, 429 U.S.

97, 104. In 1991, the Third Circuit specifically extended the Estelle analysis to the context of

prison suicides, clearly establishing that correctional officers violate the constitution when they

are recklessly indifferent to a known particular vulnerability to suicide. Colburn, 946 F.2d at

1023. Although more specificity should not be required to demonstrate that defendants were

aware of their obligation to ensure adequate protection by fulfilling prescribed watches,

decisions from this Court have denied qualified immunity in the same basic factual scenario.

Keohane, 2010 WL 3221861, at *10; see supra § IV.C.1.a.iii. Young and Moody had ample

notice their conduct in ignoring Mr. Freitag’s prescribed observation status violated his

constitutional rights under existing caselaw.

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       Additionally, when a plaintiff has produced sufficient evidence of deliberate indifference,

defendants face a high burden to establish a qualified immunity defense. As the Third Circuit has

explained, “because deliberate indifference under Farmer requires actual knowledge or

awareness on the part of the defendant, a defendant cannot have qualified immunity if she was

deliberately indifferent.” Beers-Capitol, 256 F.3d at 142 n.15; see also Carter v. City of

Philadelphia, 181 F.3d 339, 356 (3d Cir. 1999); Nealman v. Laughlin, No. 15-cv-1579, 2016 WL

4539203, at *7 (M.D. Pa. Aug. 31, 2016) (rejecting qualified immunity defense for correctional

officer defendants on ground that “[t]here is no debate…that the suicide of a pretrial detainee

may support a Fourteenth Amendment claim against custodial officers who are aware of and act

with reckless indifference to a detainee’s ‘particularized vulnerability’ to suicide”). As discussed

above, Young and Moody violated Mr. Freitag’s constitutional rights when they were

deliberately indifferent to his particular vulnerability to self-harm and suicide by failing to

monitor him according to established watch protocols put in place to ensure his safety. Their

request for qualified immunity should be denied on this basis alone.

               2.      Bucks County is Liable for Mr. Freitag’s Death.

       There is abundant evidence in the summary judgment record that Bucks County’s

policies and customs, as well as its deficient training, supervision and discipline created the

conditions leading to Mr. Freitag’s death. Two sets of facts establish these claims: Bucks

County’s acceptance of PrimeCare’s practice placing mental health decisions in the hands of

insufficiently trained correctional staff and Bucks County’s failure to train, supervise, and

discipline correctional staff regarding their implementation and execution of necessary watch




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procedures. Taken on their own or collectively, these facts demonstrate Bucks County’s liability,

and plaintiff should be permitted to present these claims to a jury.8

                       a.      Bucks County is Responsible for its Deficient Policy of Failing
                               to Provide Mental Health Care Following Critical Events.

       Notwithstanding Bucks County’s contract with PrimeCare, a “[c]ounty cannot immunize

itself from liability for constitutional harm by delegating the provision of medical care to an

independent entity.” Whitehurst v. Lackawanna Cty. No. 3:17-903, 2020 WL 6083409 *4 (M.D.

Pa. Oct. 15, 2020). Bucks County therefore maintains responsibility for ensuring adequate

mental healthcare is available to the people who it incarcerates in its jail. PrimeCare’s policy of

dismissing the only onsite mental health clinicians before individuals return from court and

deferring treatment decisions to an unqualified correctional staff member during what is

understood to be a critical time with regards to mental health and risk of self-injury, amounts to

Bucks County’s policy as well. Bucks County was well aware of this constitutionally deficient

policy; indeed this policy was in place even before PrimeCare took over from a prior contractor.9


8
 Defendants’ argument that the failure to identify a policymaker who acted with deliberate
indifference is fatal to a claim of municipal liability is without merit. This Court has found that
caselaw does “not require the Court to dismiss [a] plaintiff’s Monell claim on summary judgment
for failure to identify the specific final policymaker on the record.” Thomas v. City of Phila., No.
17-4196, 2019 WL 4039575, at *24 (E.D. Pa. Aug. 23, 2019), relying on Bielevicz, 915 F.2d at
850 (“This does not mean, however, that the responsible decisionmaker must be specifically
identified by the plaintiff’s evidence”).

9
 Although it is not necessary for the viability of this claim that plaintiff identify and prove a
constitutional violation by a Bucks County employee caused by Bucks County’s policy decision,
there is sufficient evidence in the record to show that such a violation occurred. Specifically,
Deputy Warden Mitchell’s actions in directing Mr. Freitag’s placement on a Level 3 watch on
August 25, without any inquiry into his risk factors and despite his knowledge from July 31 that
Mr. Freitag had a prior history of suicide attempts, demonstrates his deliberate indifference to
Mr. Freitag’s particular vulnerability to suicide. There is further support for this claim in
Mitchell’s admitted lack of attention to the level of protection provided to Mr. Freitag, which
was so scant that Mitchell could not accurately identify who was responsible for deciding what
watch to implement. PS 81-82. The fact that Mitchell is not named as a defendant does not
undermine the claim in this respect. Estate of Conroy, 2020 WL 7417983 at *6.
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                       b.      Bucks County is Responsible for Failing to Ensure Proper
                               Monitoring of Vulnerable Incarcerated People.

       Bucks County is also liable under Monell for its longstanding practice of performing

inadequate watch procedures. This conduct is actionable under both a custom and practice

framework as well as a failure to train, supervise, and discipline theory. At the time of Mr.

Freitag’s death, it was Bucks County’s custom to ignore protective watch requirements and fail

to supervise inmate monitors in their crucial role of observing psychologically vulnerable

individuals. Additionally, evidence shows that there was a systemic failure to train, supervise,

and discipline correctional officers regarding appropriate watch procedures.

       More than two years before Mr. Freitag’s death, Bucks County was made aware that its

officers were failing to supervise inmate monitors who were tasked with checking on their fellow

incarcerated people who had been prescribed observation status. PS 142-43. In March and April

2016, inspectors from the National Commission on Correctional Health Care (NCCHC) visited

BCCF and raised concerns regarding inmate monitors preparing inconsistent documentation of

their watches and officers failing to participate in the watches or supervise the inmate monitors.

Despite assertions by Captain Nottingham, the witness designated under Fed. R. Civ. P. 30(b)(6)

to offer testimony on Bucks County’s response to these findings, that the County took corrective

action, there is little credibility to that claim given that the same witness, when designated to

testify about officer training, did not even know about the NCCHC findings. In short, if Bucks

County’s “training lieutenant” had no idea that a national accreditation agency had found Bucks

County’s training of officers regarding watch obligations insufficient, there is little support for

the County’s claim that it acted to address an identified deficiency.

       Further, the credibility of Bucks County’s response is conclusively undermined by the

testimony of another Bucks County deposition designee, Deputy Superintendent of Programs


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Reed, who explained with blunt candor (and whose testimony defendants do not cite) that

officers’ failures to comply with watch protocols were well known and that officers have

complained hundreds of times about watch procedures and expectations. PS 151. Despite

widespread knowledge of these issues, no one in the administration monitored whether officers

were adequately performing watches and there was no reason to believe that they were. PS 152.

Her understanding was that “there was [not] any follow through from the Administration to

confirm that everybody is following rules and regulations of the facility.” PS 153. Young’s

testimony confirmed as much, as he does not remember a single supervisor ever telling him that

the inmate monitors were not doing their job or that the forms were incorrect. This is more than

sufficient to demonstrate that failure to perform and enforce watches was BCCF’s custom, as

custom “may be established by evidence of knowledge and acquiescence.” Beck v. City of

Pittsburgh, 89 F.3d 966, 971 (1996).

       In addition to acquiescing to this custom of skipping watches and failing to supervise

inmate monitors, Bucks County did not train, supervise, or discipline its staff to correct the

practice. As stated, Young confirmed he had never received any supervisory guidance on how to

implement Level 3 watches and, in particular, how to supervise inmate monitors. PS 154. Young,

in fact, had a thoroughly incorrect understanding of his responsibilities with regard to ensuring

that inmate monitors performed their watches correctly. PS 172-175. Given that Young was

responsible for overseeing watches on a regular basis, PS 100, his ignorance of protocols and

lack of training are glaring. The result of that absent training and supervision is immediately

apparent based on Young’s claim that he did everything he was supposed to do on August 25. It

is also particularly evident in the aftermath of Mr. Freitag’s death. Even after Mr. Freitag’s

gruesome suicide, no one discussed with Young and Moody whether they had properly

conducted their watches that morning. It was not until this litigation that two supervisors, Deputy

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Warden Mitchell and Captain Nottingham, were presented with evidence of Young and Moody’s

actions; once they were, they confirmed that Young and Moody violated their responsibilities to

protect Mr. Freitag, and, as a result, placed him at a risk of harm. As in Thomas, Bucks County

failed to provide training for an essential, predictable function that its officers “have no reason to

have an independent education, knowledge base, or ethical duty that would prepare them to

handle.” 749 F.3d at 225.

          If Young and Moody had been trained to perform adequate checks and supervise inmate

monitors, Mr. Freitag would never have gone as long as he did without observation under Level

3 watch. Someone would have checked him every 15 minutes as the protocol requires. This

would have made it far less likely that Mr. Freitag could have ended his life in the manner that he

did, given that it took him at least 15 minutes to injure himself beyond the possibility of

recovery. PS 121. On these facts, a reasonable jury could find that proper training and

supervision more likely than not would have saved Mr. Freitag’s life.

V.        Conclusion

          For the foregoing reasons, the defendants’ motions for summary judgment should be

denied.

                                                       Respectfully submitted,

                                                       /s/ Jonathan H. Feinberg
                                                       Jonathan H. Feinberg

                                                       /s/ Grace Harris
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